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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


    PETER A. CHIEJINA, and
    PICCOL NIGERIA LTD.,

                     Petitioners,
                                                     Civil Action No. 1:21-cv-02241-RJL
          v.

    FEDERAL REPUBLIC OF NIGERIA,

                     Respondent.


                       THE REPUBLIC OF NIGERIA’S RESPONSE
                TO PETITIONERS’ MOTION FOR A RULE 16 CONFERENCE

         Respondent Federal Republic of Nigeria (“Nigeria”), by and through undersigned counsel,

respectfully responds to petitioners’ Peter A. Chiejina and PICCOL Nigeria Ltd. (together,

“Petitioners”) Motion For A Rule 16 Conference as follows:1

         1.      Following Nigeria’s appeal of this Court’s denial of its Motion to Dismiss (ECF

No. 24), Petitioners and Nigeria engaged in extensive and fruitful settlement negotiations. This

resulted in the parties reaching a settlement agreement in principle on April 12, 2023. For the

agreement to become final, it required approval by the Nigerian government, which could only be

achieved through a process of coordination across multiple offices and agencies.

         2.      The timing of the settlement agreement coincided with a period of transition in the

domestic political circumstances of Nigeria. In February and March 2023, Nigeria held federal

and presidential elections, and the newly elected Government was inaugurated on May 29, 2023.

The parties fully briefed their arguments in front of the D.C. Circuit Court of Appeals while the


1
  By filing this response, Respondent Federal Republic of Nigeria does not waive and expressly
reserves all privileges, immunities, and defenses including, but not limited to, as to personal
jurisdiction and service of process.
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ongoing government-wide transition caused unfortunate yet understandable delays in getting

approval for the settlement agreement from the necessary individuals and agencies. Oral argument

was set for November 13, 2023.

       3.      Committed to ending this dispute amicably, Nigeria continued to push forward the

process for obtaining approval for the settlement agreement and was able to do so in late October

2023. The parties agreed to the final terms and filed a joint notice of settlement with the D.C.

Circuit Court on November 10, 2023. Nigeria simultaneously voluntarily dismissed its appeal.

       4.      In the subsequent months, Nigeria continued its efforts for fulfilling the terms of

the settlement agreement. Nigeria provided Petitioners with the signed executed copy of the

Settlement Agreement on January 23, 2024. As for the matter of payment, as Petitioners’ exhibits

depict, counsel for Nigeria made numerous trips to Abuja and met with high-ranking government

officials in extensive efforts to ensure the payment would be made in a timely manner.

       5.      The payment approvals and instructions were provided to Nigeria’s central bank in

late January 2024. Unfortunately, due to a short-term period of economic volatility, payments in

foreign currency, such as the one at issue here, were temporarily unable to clear. This temporary

issue was recently resolved, and the payment to Petitioners has now been approved by the President

of Nigeria once more.

       6.      Despite the delays in payment, Nigeria, both through its agencies and government

officials, as well as undersigned counsel, has made continued, good-faith efforts to honor the terms

of the settlement agreement reached with Petitioners. Any delay in the payment was caused by

unforeseen, bureaucratic and economic circumstances. Counsel for Nigeria continue to personally

visit Abuja on a frequent basis and meet with top government officials in efforts to collectively

ensure the payment to Petitioners. Meanwhile, undersigned counsel has remained in continued
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communication with counsel for Petitioners to provide any and all updates from Abuja in assurance

that the process is moving along.

       7.      Having overcome the unfortunate delays, Nigeria is hopeful that the payment can

now clear, that Petitioners will receive the payment shortly, and that the matter will be resolved

without need for a Rule 16 conference.



 Dated: April 5, 2024                              Respectfully submitted,
        Washington, DC


                                                    /s/ Tara M. Lee
                                                   Tara M. Lee (DC Bar No. 17902)
                                                   Scott Lerner (DC Bar No. 1024964)
                                                   Benedict Bernstein (admitted pro hac vice)
                                                   WHITE & CASE LLP
                                                   701 Thirteenth Street, NW
                                                   Washington, DC 20005
                                                   Telephone:     + 1 202 626 3600
                                                   Facsimile:     + 1 202 639 9355
                                                   tara.lee@whitecase.com
                                                   scott.lerner@whitecase.com
                                                   benedict.bernstein@whitecase.com

                                                   Counsel for Respondent
                                                   Federal Republic of Nigeria
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                               CERTIFICATE OF SERVICE


       I hereby certify that a true and correct copy of the Response to Petitioners’ Motion For A

Rule 16 Conference was served on all counsel of record by Electronic Case Filing (ECF) on the

5th day of April 2024.




                                                /s/ Tara M. Lee
                                                Tara M. Lee (DC Bar No. 17902)
